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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

FREE SPEECH COALITION, INC., et al.,

                Plaintiffs,

       v.                                       CASE NO. 1:23-cv-00917-DAE

KEN PAXTON, In His Official Capacity As
Attorney General For The State Of Texas,

                Defendant.


______________________________________________________________________________

                              JOINT ADVISORY
______________________________________________________________________________

       Pursuant to the Court’s Order (Dkt. # 59) that the Parties confer to further discuss their

conflicting recommended schedules, the Parties have done so and hereby advise the Court that

they remain unable to come to any further agreement.

DATED: December 8, 2023
                                          QUINN EMANUEL URQUHART &
                                          SULLIVAN, LLP

                                           By        /s/ Scott Cole
                                              Scott Cole
                                              Attorney for Plaintiffs


DATED: December 8, 2023                   OFFICE OF THE TEXAS ATTORNEY GENERAL

                                           By        /s/ John Ramsey
                                              John Ramsey
                                              Assistant Attorney General
                                              Attorney for Defendant
         Case 1:23-cv-00917-DAE Document 60 Filed 12/08/23 Page 2 of 2




                              CERTIFICATE OF SERVICE

       I hereby certify that on December 8, 2023, a true and correct copy of the foregoing

document was served via the Court’s CM/ECF system to all counsel of record.



DATED: December 8, 2023                  QUINN EMANUEL URQUHART &
                                         SULLIVAN, LLP

                                          By       /s/ Scott Cole
                                            Scott Cole
                                            Attorney for Plaintiffs
